 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     Northern District of Alabama__________
     ________________       District of ________

                             21-
     Case number (If known): _________________________ Chapter you are filing under:
                                                             _   Chapter 7
                                                                Chapter 11
                                                                Chapter 12
                                                                Chapter 13                                                 Check if this is an
                                                                                                                               amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                           12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:        Identify Yourself

                                         About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.     Your full name
       Write the name that is on your        +BTPO
       government-issued picture         __________________________________________________           __________________________________________________
       identification (for example,      First name                                                   First name
       your driver’s license or             '
                                         __________________________________________________           __________________________________________________
       passport).                        Middle name                                                  Middle name

       Bring your picture                   4UBQMFS
                                         __________________________________________________           __________________________________________________
       identification to your meeting    Last name                                                    Last name
       with the trustee.                 ___________________________                                  ___________________________
                                         Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.     All other names you               __________________________________________________           __________________________________________________
       have used in the last 8           First name                                                   First name
       years
                                         __________________________________________________           __________________________________________________
       Include your married or           Middle name                                                  Middle name
       maiden names.                     __________________________________________________           __________________________________________________
                                         Last name                                                    Last name

                                         __________________________________________________           __________________________________________________
                                         First name                                                   First name
                                         __________________________________________________           __________________________________________________
                                         Middle name                                                  Middle name
                                         __________________________________________________           __________________________________________________
                                         Last name                                                    Last name




3.     Only the last 4 digits of
       your Social Security              xxx       – xx –                                        xxx    – xx –
       number or federal                   OR                                                         OR
       Individual Taxpayer
       Identification number             9 xx – xx – ____ ____ ____ ____                             9 xx – xx – ____ ____ ____ ____
       (ITIN)

Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
            Case 21-81282-CRJ7                      Doc 1     Filed 07/23/21 Entered 07/23/21 15:13:39                          Desc Main
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Debtor 1        Jason            F.         Stapler
                _______________________________________________________                                               21-
                                                                                                   Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer
                                           Y I have not used any business names or EINs.
                                                                                                        I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               _________________________________________________            _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                             UI45"15
                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________


                                            %FDBUVS "-                                           _________________________________________________
                                           _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                            .PSHBO
                                           _________________________________________________            _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box


                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for            Y Over the last 180 days before filing this petition,
      bankruptcy                                                                                        Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any             I have lived in this district longer than in any
                                              other district.                                              other district.

                                            I have another reason. Explain.                             I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________



     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
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Debtor 1        Jason            F.         Stapler
                _______________________________________________________                                               21-
                                                                                                   Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file                 Y Chapter 7
      under
                                           
                                            Chapter 11
                                            Chapter 12
                                            Chapter 13

8.    How you will pay the fee             Y I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                           
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   Y No
                                           
      bankruptcy within the
                                            Yes.    District __________________________ When                                 21-
                                                                                                  _______________ Case number ___________________________
      last 8 years?
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                   Y No
                                           
      cases pending or being
      filed by a spouse who is              Yes.    Debtor _________________________________________________ Relationship to you      _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                      No.     Go to line 12.
      residence?                           Y Yes.
                                                    Has your landlord obtained an eviction judgment against you?

                                                        No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1         Jason                  F.               Stapler
                _______________________________________________________                                                      21-
                                                                                                           Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 Y No. Go to Part 4.
                                                
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?                                   Y No.
                                                        I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    Y No
                                                
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


  Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
           Case 21-81282-CRJ7                            Doc 1         Filed 07/23/21 Entered 07/23/21 15:13:39                              Desc Main
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Debtor 1         Jason                  F.           Stapler
                _______________________________________________________
                First Name     Middle Name            Last Name
                                                                                                                             21-
                                                                                                          Case number (if known)_____________________________________




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.                            Y I received a briefing from an approved credit
                                                                                                                I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
      cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




  Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
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Debtor 1        Jason              F.               Stapler
               _______________________________________________________                                                      21-
                                                                                                         Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                Y
                                                   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                Y
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                            No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after           Y Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
                                           
      any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                  Y
                                                       No
      administrative expenses
      are paid that funds will be                      Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                
                                           Y 1-49                                       1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                      5,001-10,000                           50,001-100,000
      owe?                                  100-199                                    10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                      
                                           Y $0-$50,000                                 $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                           $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                             $100,001-$500,000                          $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                        $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                                 $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities            
                                           Y $50,001-$100,000                           $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                $100,001-$500,000                          $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                        $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                           8        T+BTPO'4UBQMFS
                                              ______________________________________________                8_____________________________
                                              Signature of Debtor 1                                             Signature of Debtor 2
                                                                             
                                                     Executed on _________________
                                                                                                                Executed on __________________
                                                                 MM   / DD    / YYYY                                          MM / DD     / YYYY


  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1     Jason             F.               Stapler
             _______________________________________________________                                                   21-
                                                                                                   Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        8_________________________________
                                           T$ZOUIJB38SJHIU                                            Date           _ _________
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY



                                              $ZOUIJB38SJHIU
                                           _________________________________________________________________________________________________
                                           Printed name

                                              $ZOUIJB38SJHIU 1$
                                           _________________________________________________________________________________________________
                                           Firm name
                                              #PC8BMMBDF"WF48 #
                                           _________________________________________________________________________________________________
                                           Number Street

                                           _________________________________________________________________________________________________
                                              )VOUTWJMMF "-
                                           ______________________________________________________ ____________ ______________________________
                                           City                                                   State        ZIP Code




                                                                                                                  MBEZMBX!DPNDBTUOFU
                                           Contact phone _____________________________________             Email address   ______________________________



                                               #$"-
                                           ______________________________________________________ ____________
                                           Bar number                                             State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
           Case 21-81282-CRJ7                    Doc 1         Filed 07/23/21 Entered 07/23/21 15:13:39                                 Desc Main
                                                              Document      Page 7 of 66
 Fill in this information to identify your case:

 Debtor 1          Jason                   F.              Stapler
                   __________________________________________________________________
                     First Name                      Middle Name                      Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                      Last Name


                                         __________
 United States Bankruptcy Court for the: Northern District     of __________
                                                           of Alabama__________
                                                      District

 Case number         21-
                     ___________________________________________                                                                                                               Check if this is an
                     (If known)                                                                                                                                                amended filing



2IILFLDO)RUP 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                                 
    1a. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................       $ ________________



   1b. Copy line 62, Total personal property, from Schedule A/B ...............................................................................................
                                                                                                                                                                                 
                                                                                                                                                                            $ ________________


   1c. Copy line 63, Total of all property on Schedule A/B .........................................................................................................             
                                                                                                                                                                            $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                                
                                                                                                                                                                            $ ________________
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                
                                                                                                                                                                            $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................                                   80,544.00
                                                                                                                                                                        +   $ _______________


                                                                                                                                       Your total liabilities                  86,898.00
                                                                                                                                                                            $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)                                                                                                                                 
                                                                                                                                                                            $________________
   Copy your combined monthly income from line 12 of Schedule I ..........................................................................................

5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                                
   Copy your monthly expenses from line 22c of Schedule J ....................................................................................................              $ ________________




Official Form 106Sum
           Case 21-81282-CRJ7Summary
                                Docof1YourFiled
                                           Assets and Liabilities and Certain Statistical Information
                                                07/23/21 Entered 07/23/21 15:13:39                                                                                       Desc page
                                                                                                                                                                              Main 1 of 2

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   Debtor 1        Jason                  F.               Stapler
                    _______________________________________________________                                                  21-
                                                                                                      Case number (if known)_____________________________________
                    First Name     Middle Name        Last Name




   Part 4:        Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       Y Yes
       

   7. What kind of debt do you have?

       Y Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
       
              family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                     
                                                                                                                                          $ _________________




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                               Total claim


        From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)
                                                                                                                     
                                                                                                               $_____________________

                                                                                                                    
       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                               $_____________________

                                                                                                                    
       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                     $_____________________



       9d. Student loans. (Copy line 6f.)                                                                            
                                                                                                               $_____________________


       9e. Obligations arising out of a separation agreement or divorce that you did not report as
                                                                                                                    
                                                                                                               $_____________________
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +         
                                                                                                               $_____________________


                                                                                                                    
       9g. Total. Add lines 9a through 9f.                                                                     $_____________________




Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information
               Case 21-81282-CRJ7         Doc 1 Filed 07/23/21 Entered 07/23/21 15:13:39                                                Desc page
                                                                                                                                             Main 2 of 2

                                                   Document             Page 9 of 66
Fill in this information to identify your case and this filing:


Debtor 1           Jason                  F.              Stapler
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


United States Bankruptcy Court for the: Northern District
                                        __________        of Alabama__________
                                                     District of ___________

Case number          21-
                    ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

2IILFLDO)RUP 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
    Y No. Go to Part 2.
    
     Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                           the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.1. _________________________________________
           Street address, if available, or other description
                                                                     Duplex or multi-unit building
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             ________________________________________
                                                                     Land                                          $________________       $_______________
             __BBBBBBBBBBBBBBBB______________________
                                                                     Investment property
             City                        State     ZIPCode
                                                                     Timeshare                                    Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                     Other __________________________________
                                                                                                                   the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 
                                                                  Debtor 1 only
             _________________________________________
             County                                              
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                                                                       (see instructions)
                                                                 
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
             City                    State   ZIP Code                                                              interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


Official Form
          Case106A/B
                  21-81282-CRJ7                      Doc 1       Schedule A/B: Property Entered 07/23/21 15:13:39
                                                                  Filed 07/23/21                                                            page 1
                                                                                                                                     Desc Main
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Debtor 1      Jason                  F.               Stapler
               _______________________________________________________                                                       21-
                                                                                                      Case number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                    Single-family home                                  the amount of any secured claims on Schedule D:
                                                                                                                         Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                          Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
           ________________________________________                 Manufactured or mobile home
                                                                    Land                                                $________________         $_________________

           ________________________________________
                                                                    Investment property
           City                    State   ZIP Code                 Timeshare                                           Describe the nature of your ownership
                                                                                                                         interest (such as fee simple, tenancy by
                                                                    Other __________________________________            the entireties, or a life estate), if known.
                                                                                                                        __________________________________________
                                                                 Who has an interest in the property? Check one.
           ________________________________________              
                                                                  Debtor 1 only
           County
                                                                 
                                                                  Debtor 2 only
                                                                 
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                                                                             (see instructions)
                                                                 
                                                                  At least one of the debtors and another

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                    
                                                                                                                                                   $_________________
   you have attached for Part 1. Write that number here. ......................................................................................Î




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   Y Yes

   3.1.    Make:                       5PZPUB
                                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
                                                                                                                         the amount of any secured claims on Schedule D:
           Model:                      )JHIMBOEFS
                                      ______________
                                                                 
                                                                 Y Debtor 1 only
                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                 Debtor 2 only
           Year:                      @@@@@@                Debtor 1 and Debtor 2 only                            Current value of the      Current value of the
                                                                                                                         entire property?          portion you own?
                                   
           Approximate mileage: ____________                     At least one of the debtors and another
           Other information:
                                                                                                                              
                                                                                                                         $________________              
                                                                                                                                                   $________________
                                                                  Check if this is community property (see
                                                                     instructions)



   If you own or have more than one, describe here:

           Make:                      ______________             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.2.
                                                                                                                         the amount of any secured claims on Schedule D:
           Model:                     ______________
                                                                 
                                                                  Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                                                 
                                                                  Debtor 2 only
           Year:                      ____________                                                                       Current value of the      Current value of the
                                                                 
                                                                  Debtor 1 and Debtor 2 only
                                                                                                                         entire property?          portion you own?
           Approximate mileage: ____________                     
                                                                  At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see              $________________         $________________
                                                                     instructions)




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Debtor 1         Jason                  F.               Stapler
                  _______________________________________________________                                                                            21-
                                                                                                                              Case number (if known)_____________________________________
                  First Name         Middle Name                Last Name




           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.3.
                                                                                                                                                      the amount of any secured claims on Schedule D:
           Model:                           ______________
                                                                            
                                                                             Debtor 1 only                                                            Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________                                                                                              Current value of the            Current value of the
                                                                            
                                                                             Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                          entire property?                portion you own?
                                                                            
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)


           Make:                            ______________                  Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                                                      the amount of any secured claims on Schedule D:
           Model:                           ______________
                                                                            
                                                                             Debtor 1 only                                                            Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:                            ____________                                                                                              Current value of the            Current value of the
                                                                            
                                                                             Debtor 1 and Debtor 2 only
           Approximate mileage: ____________                                                                                                          entire property?                portion you own?
                                                                            
                                                                             At least one of the debtors and another
           Other information:
                                                                              Check if this is community property (see                               $________________               $________________
                                                                                 instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   Y No
   
    Yes

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.1.
                                                                                                                                                      the amount of any secured claims on Schedule D:
           Model: ____________________                                      
                                                                             Debtor 1 only                                                            Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________
                                                                            
                                                                             Debtor 1 and Debtor 2 only                                               Current value of the            Current value of the
           Other information:                                               
                                                                             At least one of the debtors and another                                  entire property?                portion you own?

                                                                             Check if this is community property (see                                $________________               $________________
                                                                                 instructions)



   If you own or have more than one, list here:

           Make:        ____________________                                Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
   4.2.
                                                                                                                                                      the amount of any secured claims on Schedule D:
           Model: ____________________                                      
                                                                             Debtor 1 only                                                            Creditors Who Have Claims Secured by Property.
                                                                            
                                                                             Debtor 2 only
           Year:        ____________                                                                                                                  Current value of the            Current value of the
                                                                            
                                                                             Debtor 1 and Debtor 2 only
                                                                                                                                                      entire property?                portion you own?
           Other information:                                               
                                                                             At least one of the debtors and another

                                                                                                                                                      $________________               $________________
                                                                             Check if this is community property (see
                                                                                 instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       
                                                                                                                                                                                     $_________________
   you have attached for Part 2. Write that number here ........................................................................................................................ Î




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Debtor 1          Jason                  F.               Stapler
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                                                                                                                                           Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




Part 3:       Describe Your Personal and Household Items

                                                                                                                                                                                               Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                              portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   Y
       Yes. Describe. ........             'VSOJUVSF                                                                                                                                                 
                                                                                                                                                                                                $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
   
   Y    Yes. Describe. .........           57                                                                                                                                                        
                                                                                                                                                                                                $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   Y No
   
    Yes. Describe. .........                                                                                                                                                                   $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
       No
   Y
       Yes. Describe. .........                                                                                                                                                                         
                                            3PETSFFMT                                                                                                                                       $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
     No
   Y
     Yes. Describe. ..........                                                                                                                                                                         
                                          (VOT                                                                                                                                                 $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   Y
       No
       Yes. Describe. ..........             $MPUIJOH                                                                                                                                              
                                                                                                                                                                                                $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No                                                                                                                                                                                             
  Y
       Yes. Describe. ..........            +FXFMSZ                                                                                                                                           $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses
   Y
       No
       Yes. Describe. ..........                                                                                                                                                               $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   Y
       No
       Yes. Give specific
                                                                                                                                                                                                $___________________
        information. ..............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                       
                                                                                                                                                                                                $______________________
   for Part 3. Write that number here .................................................................................................................................................... Î



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                   _______________________________________________________                                                                                                       21-
                                                                                                                                                          Case number (if known)_____________________________________
                    First Name             Middle Name                      Last Name




Part 4:      Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                     Current value of the
                                                                                                                                                                                                                portion you own?
                                                                                                                                                                                                                Do not deduct secured claims
                                                                                                                                                                                                                or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

 Y
     No
     Yes ................................................................................................................................................................    Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   Y   Yes .....................                                                               Institution name:

                                                                                                  1FPQMFT#BOL
                                                                                               __BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB______________________
                                                                                                                                                                                                                     
                                                                                                                                                                                                                 $___BB_______BBBBBB
                                            17.1. Checking account:
                                                                                               _________________________________________________________
                                            17.2. Checking account:                                                                                                                                              $_________BBBBBB___
                                                                                               _BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB________________________
                                            17.3. Savings account:                                                                                                                                               $__________________
                                                                                               _________________________________________________________
                                            17.4. Savings account:                                                                                                                                               $__________________
                                                                                               _________________________________________________________
                                            17.5. Certificates of deposit:                                                                                                                                       $__________________

                                            17.6. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.7. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.8. Other financial account:                     _________________________________________________________                                                         $__________________

                                            17.9. Other financial account:                     _________________________________________________________                                                         $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts
 Y
     No
     Yes .................                Institution or issuer name:

                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________
                                            _________________________________________________________________________________________                                                                            $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   Y No
                                           Name of entity:                                                                                                                     % of ownership:
   
     Yes. Give specific                     _____________________________________________________________________                                                               ___________%                     $__________________
       information about
       them.........................        _____________________________________________________________________                                                               ___________%                     $__________________
                                            _____________________________________________________________________                                                               ___________%                     $__________________




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Debtor 1        Jason                  F.              Stapler
                 _______________________________________________________                                                        21-
                                                                                                         Case number (if known)_____________________________________
                   First Name           Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

 Y No

 
   Yes. Give specific                   Issuer name:
       information about
       them.......................      ______________________________________________________________________________________               $__________________
                                        ______________________________________________________________________________________
                                                                                                                                             $__________________
                                        ______________________________________________________________________________________
                                                                                                                                             $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
   Y Yes. List each
   
       account separately.              Type of account:          Institution name:

                                                                      L XJUI&NQMPZFS                                                        
                                                                                                                                             $___________BBBBBBB
                                        401(k) or similar plan:   ___________________________________________________________________
                                                                                                                                             $__________________
                                        Pension plan:             ___________________________________________________________________
                                                                                                                                             $__________________
                                        IRA:                      ___________________________________________________________________
                                                                                                                                             $__________________
                                        Retirement account:       ___________________________________________________________________

                                        Keogh:                    ___________________________________________________________________
                                                                                                                                             $__________________

                                        Additional account:       ___________________________________________________________________
                                                                                                                                             $__________________

                                        Additional account:       ___________________________________________________________________        $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others
   Y
      No
      Yes ..........................                         Institution name or individual:

                                        Electric:             _____________________________________________________                          BBBBBBBBB__________
                                        Gas:                  ______________________________________________________________________         $___________________
                                        Heating oil:          ______________________________________________________________________         $___________________

                                        Security deposit on rental unit: _____________________________________________________________       $___________________

                                        Prepaid rent:         ______________________________________________________________________         $___________________

                                        Telephone:            ______________________________________________________________________         $___________________

                                        Water:                ______________________________________________________________________         $___________________

                                        Rented furniture:     ______________________________________________________________________         $___________________

                                        Other:                ______________________________________________________________________
                                                                                                                                             $___________________



23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   Y
      No
      Yes ..........................   Issuer name and description:
                                         _______________________________________________________________________________________             $__________________
                                        _______________________________________________________________________________________              $__________________
                                        _______________________________________________________________________________________              $__________________


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                 _______________________________________________________                                                             21-
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                  First Name            Middle Name            Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   Y
      No
      Yes ....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________
                                                  ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit
   Y
      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   Y
      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
   Y
      No
      Yes. Give specific
       information about them. ...                                                                                                                     $__________________


Money or property owed to you?                                                                                                                         Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
   Y
      No
      Yes. Give specific information                                                                                        Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                    State:                $_________________
            and the tax years. .......................
                                                                                                                             Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   Y
      No
      Yes. Give specific information. .............
                                                                                                                            Alimony:                   $________________
                                                                                                                            Maintenance:               $________________
                                                                                                                            Support:                   $________________
                                                                                                                            Divorce settlement:        $________________
                                                                                                                            Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   Y
      No
      Yes. Give specific information. ..............
                                                                                                                                                       $______________________




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                                                                            Schedule A/B: Property Entered 07/23/21 15:13:39                       Desc Main
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                                                                           Document          Page 16 of 66
Debtor 1          Jason                  F.               Stapler
                   _______________________________________________________                                                                                        21-
                                                                                                                                           Case number (if known)_____________________________________
                    First Name           Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   Y
       No
       Yes. Name the insurance company             Company name:                                                                             Beneficiary:                                       Surrender or refund value:
             of each policy and list its value. ...
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________
                                                                    ___________________________________________ ____________________________                                                     $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   Y
       No
       Yes. Give specific information. .............
                                                                                                                                                                                                 $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   Y
       No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                 $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   Y
       No
       Yes. Describe each claim. ....................
                                                                                                                                                                                                 $_____________________




35. Any financial assets you did not already list
   Y
       No
       Yes. Give specific information............
                                                                                                                                                                                                 $_____________________


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                                                        
   for Part 4. Write that number here .................................................................................................................................................... Î     $_____________________




Part 5:         Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
   Y
       No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                               Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.

38. Accounts receivable or commissions you already earned

      No
       Yes. Describe .......
                                                                                                                                                                                               $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
       Yes. Describe .......                                                                                                                                                                  $_____________________



          Case 21-81282-CRJ7
2IILFLDO)RUP$%                                                Doc 1           Filed 07/23/21
                                                                                   Schedule A/B: Property Entered 07/23/21 15:13:39                                                            Desc Main
                                                                                                                                                                                                      page 8
                                                                                  Document          Page 17 of 66
Debtor 1          Jason                  F.              Stapler
                   _______________________________________________________                                                                                        21-
                                                                                                                                           Case number (if known)_____________________________________
                    First Name            Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe .......
                                                                                                                                                                                               $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                  $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                      % of ownership:
                                         ______________________________________________________________________                                                    ________%                   $_____________________
                                         ______________________________________________________________________                                                    ________%                   $_____________________
                                         ______________________________________________________________________                                                    ________%                   $_____________________


43. Customer lists, mailing lists, or other compilations
       No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe. .......
                                                                                                                                                                                                $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                            $____________________
        information .........
                                         ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________
                                        ______________________________________________________________________________________                                                                 $____________________

                                         ______________________________________________________________________________________                                                                 $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                         
                                                                                                                                                                                                $____________________
   for Part 5. Write that number here .................................................................................................................................................... Î




Part 6:         Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   Y No. Go to Part 7.
   
    Yes. Go to line 47.
                                                                                                                                                                                             Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured claims
                                                                                                                                                                                               or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ..........................

                                                                                                                                                                                                 $___________________



          Case 21-81282-CRJ7
2IILFLDO)RUP$%                                                Doc 1           Filed 07/23/21
                                                                                   Schedule A/B: Property Entered 07/23/21 15:13:39                                                            Desc Main
                                                                                                                                                                                                      page 9
                                                                                  Document          Page 18 of 66
 Debtor 1            Jason                  F.               Stapler
                      _______________________________________________________                                                                                           21-
                                                                                                                                                 Case number (if known)_____________________________________
                       First Name           Middle Name                   Last Name




48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                       $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ..........................
                                                                                                                                                                                                           $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ..........................
                                                                                                                                                                                                           $___________________

51. Any farm- and commercial fishing-related property you did not already list
         No
          Yes. Give specific
           information. ............                                                                                                                                                                       $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                 
                                                                                                                                                                                                          $___________________
     for Part 6. Write that number here .................................................................................................................................................... Î



Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     Y
          No
                                                                                                                                                                                                            $________________
          Yes. Give specific
           information. ............                                                                                                                                                                        $________________
                                                                                                                                                                                                            $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................. Î                                                         
                                                                                                                                                                                                            $________________




Part 8:            List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 .............................................................................................................................................................. Î
                                                                                                                                                                                                               
                                                                                                                                                                                                          BBBBBBBBBBBBBBBBBB
                                                                                                                         
56. Part 2: Total vehicles, line 5                                                                                $_______BBBBBBBBB

57. Part 3: Total personal and household items, line 15                                                               
                                                                                                                  $________________

58. Part 4: Total financial assets, line 36                                                                           
                                                                                                                  $________________

59. Part 5: Total business-related property, line 45                                                                  
                                                                                                                  $________________

60. Part 6: Total farm- and fishing-related property, line 52
                                                                                                                     
                                                                                                                  $________________

61. Part 7: Total other property not listed, line 54
                                                                                                                   
                                                                                                              + $_____________BBB

62. Total personal property. Add lines 56 through 61. ....................                                            
                                                                                                                  _________BBBBBBB Copy personal property total Î                                               
                                                                                                                                                                                                         + $__BBBBBBBBBBBBB


63. Total of all property on Schedule A/B. Add line 55 + line 62. .........................................................................................                                                     
                                                                                                                                                                                                          $_________________



           Case 21-81282-CRJ7
 2IILFLDO)RUP$%                                                   Doc 1            Filed 07/23/21
                                                                                        Schedule A/B: Property Entered 07/23/21 15:13:39                                                                 Desc Main
                                                                                                                                                                                                                page 10
                                                                                       Document          Page 19 of 66
Fill in this information to identify your case:

 Debtor 1           Jason                  F.              Stapler
                   __________________________________________________________________
                     First Name                Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name               Last Name


 United States Bankruptcy Court for the: Northern District
                                         __________        of Alabama__________
                                                       District of __________

 Case number          21-
                     ___________________________________________                                                                                Check if this is an
  (If known)
                                                                                                                                                 amended filing



2IILFLDO)RUP 106C
Schedule C: The Property You Claim as Exempt                                                                                                               

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     Y You are claiming state and federal nonbankruptcy exemptions.                  11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on         Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                 portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B

      Brief                       %FQPTJUTPG.POFZ                                                                                $PEFPG"MBCBNB BT
                                                                                                                                  ____________________________
                             _________________________           
                                                             $________________                 
                                                                                          Y $ ____________
      description:                                                                                                                 BNFOEFE f
                                                                                                                                  ____________________________
      Line from                                                                            100% of fair market value, up to      ____________________________
                      
      Schedule A/B: ______                                                                   any applicable statutory limit      ____________________________

                                  'VSOJUVSF                                                                                 $PEFPG"MBCBNB BT
      Brief                  __BBBBBBBBBBB____________       $__BBBBBBB_______     Y $ ____BBBBBBBB
                                                                                                                      ____________________________
      description:                                                                                                                 BNFOEFE f
                                                                                                                                  ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
                    ______                                                                   any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                       $MPUIJOH                                                                             $PEFPG"MBCBNB BT
                                                                                                                                  ____________________________
      description:
                             _________________________       $________________            
                                                                                          Y $ ____________                        ____________________________
                                                                                                                                   BNFOEFE f
      Line from                                                                            100% of fair market value, up to      ____________________________
                     
      Schedule A/B: ______                                                                   any applicable statutory limit       ____________________________


 3. Are you claiming a homestead exemption of more than $175?
     (Subject to adjustment on 4/01/1 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     Y     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form
          Case106C21-81282-CRJ7                       Doc 1Schedule
                                                               FiledC: 07/23/21
                                                                       The Property You Claim as 07/23/21
                                                                                     Entered     Exempt   15:13:39                               page 1 of __
                                                                                                                                          Desc Main
                                                            Document           Page 20 of 66
Debtor 1      Jason                  F.              Stapler
             _______________________________________________________                                                  21-
                                                                                               Case number (if known)_____________________________________
             First Name        Middle Name       Last Name




 Part 2:    Additional Page

      Brief description of the property and line         Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property           portion you own
                                                         Copy the value from    Check only one box for each exemption
                                                         Schedule A/B

     Brief                                                                                                               $PEFPG"MBCBNB BT
                                                                                                                        ____________________________
                          __&MFDUSPOJDT
                             _______________________         
                                                         $__BBBBBB________     
                                                                               Y $BBBBBBBBBBBB
     description:                                                                                                       ____________________________
                                                                                                                         BNFOEFE f
     Line from       
                   ______
                                                                                 100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                 any applicable statutory limit      ____________________________

     Brief                  +FXFMSZ                                                                                      $PEFPG"MBCBNB BT
                                                                                                                        ____________________________
     description:
                          _________________________          
                                                         $________________      
                                                                                Y $ ____________
                                                                                                                   ____________________________
                                                                                                                         BNFOEFE f
     Line from                                                                   100% of fair market value, up to      ____________________________
                    
                   ______                                                          any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                 (VOT                                                                                          $PEFPG"MBCBNB BT
                                                                                                                        ____________________________
                          _________________________          
                                                         $________________              
                                                                                Y $ ____________
     description:                                                                                                        BNFOEFE f
                                                                                                                        ____________________________
     Line from                                                                 100% of fair market value, up to      ____________________________
                   ______                                                          any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                 3PET3FFMT                                                                                  $PEFPG"MBCBNB BT
                                                                                                                        ____________________________
                          _________________________         
                                                         $________________               
                                                                                Y $ ____________
     description:                                                                                                        BNFOEFE f
                                                                                                                        ____________________________
     Line from       
                   ______
                                                                                 100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                 any applicable statutory limit      ____________________________

     Brief                 3FUJSFNFOU"DDPVOU                                                                            $PEFPG"MBCBNB BT
                                                                                                                        ____________________________
                          _________________________          
                                                         $________________      Y $ ____________
                                                                                          
     description:                                                                                                        BNFOEFE f#
                                                                                                                        ____________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
                    
                   ______                                                          any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                 5PZPUB                                                                                   $PEFPG"MBCBNB BT
                                                                                                                        ____________________________
                          ________________________           
                                                        $__BBBBBBBBBBBBBB      Y $ ______BB 
                                                                                                                        BNFOEFE f
     description:                                                                                                       ____________________________
     Line from                                                                100% of fair market value, up to      ____________________________
                   ______                                                          any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                              ____________________________
     description:
                          _________________________      $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                 100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                 any applicable statutory limit      ____________________________

     Brief                                                                                                              ____________________________
     description:
                          _________________________      $________________       $ ____________                        ____________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
                                                                                                                        ____________________________
     Schedule A/B: ______                                                          any applicable statutory limit


     Brief                                                                                                              ____________________________
     description:
                          _________________________      $________________       $ ____________                        ____________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
                   ______                                                          any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                              ____________________________
     description:
                          _________________________      $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                 100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                 any applicable statutory limit      ____________________________

     Brief                                                                                                              ____________________________
     description:
                          _________________________      $________________       $ ____________                        ____________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
                                                                                                                        ____________________________
     Schedule A/B: ______                                                          any applicable statutory limit


     Brief                                                                                                              ____________________________
     description:
                          _________________________      $________________       $ ____________                        ____________________________
     Line from                                                                   100% of fair market value, up to      ____________________________
                   ______                                                          any applicable statutory limit       ____________________________
     Schedule A/B:


2IILFLDO)RUP&
          Case 21-81282-CRJ7                    Doc Schedule
                                                    1 Filed  C: The Property YouEntered
                                                                 07/23/21        Claim as Exempt
                                                                                           07/23/21 15:13:39                     Desc page
                                                                                                                                      Main ___ of __
                                                      Document           Page 21 of 66
Fill in this information to identify your case:

 Debtor 1           Jason                   F.              Stapler
                    __________________________________________________________________
                     First Name                    Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                    Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District
                                         __________        of Alabama__________
                                                      District of __________

 Case number         21-
                     ___________________________________________
 (If known)                                                                                                                                                  Check if this is an
                                                                                                                                                              amended filing


2IILFLDO)RUP 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
      
      Y      No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                            Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                     Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                 Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                          value of collateral.   claim                 If any

2.1
                                                            Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                 Contingent
      State   ZIPCode
                                                 Unliquidated
      ______________________________________ City
                                                                Disputed
  Who owes the debt? Check one.                             Nature of lien. Check all that apply.
  Y
        Debtor 1 only                                      Y
                                                                An agreement you made (such as mortgage or secured
        Debtor 2 only                                           car loan)
        Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                Judgment lien from a lawsuit
                                                                Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                       Last 4 digits of account number ___ ___ ___ ___
2.2
                                                            Describe the property that secures the claim:                   $_________________ $________________ $____________
      ______________________________________
      Creditor’s Name

      ______________________________________
      Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                Contingent
      ______________________________________                    Unliquidated
      City                          State   ZIP Code            Disputed
  Who owes the debt? Check one.                             Nature of lien. Check all that apply.
        Debtor 1 only                                          An agreement you made (such as mortgage or secured
        Debtor 2 only                                           car loan)
        Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
        At least one of the debtors and another                Judgment lien from a lawsuit
                                                                Other (including a right to offset) ____________________
    Check if this claim relates to a
     community debt
  Date debt was incurred ____________                       Last 4 digits of account number ___ ___ ___ ___
       Add the dollar value of your entries in Column A on this page. Write that number here:                               $________________


          Case
2fficial Form 106D21-81282-CRJ7   DocD:1Creditors
                              Schedule     FiledWho
                                                  07/23/21
                                                    Have ClaimsEntered
                                                               Secured by07/23/21
                                                                          Property                                                    15:13:39          Desc page
                                                                                                                                                             Main 1 of ___
                                                                     Document                   Page 22 of 66
  Fill in this information to identify your case:

      Debtor 1          Jason                  F.               Stapler
                        __________________________________________________________________
                          First Name                   Middle Name            Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                   Middle Name            Last Name


      United States Bankruptcy Court for the: Northern District
                                              __________        of Alabama__________
                                                           District of __________

      Case number         21-
                          ___________________________________________
                                                                                                                                                        Check if this is an
      (If known)                                                                                                                                         amended filing


 2IILFLDO)RUP106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Part 1:               List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
        
        Y Yes.
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                     Total claim    Priority     Nonpriority
                                                                                                                                                    amount       amount
2.1                                                                                                                                          $____________
             *OUFSOBM3FWFOVF4FSWJDF
           ____________________________________________              Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________   
           Priority Creditor’s Name

             10#PY
           ____________________________________________              When was the debt incurred?          ____________
           Number            Street
           ____________________________________________
                                                                     As of the date you file, the claim is: Check all that apply.
             "UMBOUB ("
           ____________________________________________
           City                                State    ZIP Code
                                                                        Contingent
                                                                        Unliquidated
           Who incurred the debt? Check one.
                                                                        Disputed
           
           Y      Debtor 1 only
                 Debtor 2 only                                      Type of PRIORITY unsecured claim:
                 Debtor 1 and Debtor 2 only
                                                                        Domestic support obligations
                 At least one of the debtors and another            Y
                                                                        Taxes and certain other debts you owe the government
                 Check if this claim is for a community debt           Claims for death or personal injury while you were
           Is the claim subject to offset?                               intoxicated
           
           Y      No                                                    Other. Specify _________________________________
                 Yes
2.2
           ____________________________________________              Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
           Priority Creditor’s Name
                                                                     When was the debt incurred?          ____________
           ____________________________________________
           Number            Street
           ____________________________________________              As of the date you file, the claim is: Check all that apply.

           ____________________________________________
                                                                        Contingent
           City                                State    ZIP Code        Unliquidated
           Who incurred the debt? Check one.                            Disputed
                 Debtor 1 only
                                                                     Type of PRIORITY unsecured claim:
                 Debtor 2 only
                                                                        Domestic support obligations
                 Debtor 1 and Debtor 2 only
                 At least one of the debtors and another
                                                                        Taxes and certain other debts you owe the government
                                                                        Claims for death or personal injury while you were
                 Check if this claim is for a community debt            intoxicated
           Is the claim subject to offset?                              Other. Specify _________________________________
                 No
                 Yes

                  Case 21-81282-CRJ7
 Official Form 106E/F
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                                                              Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                                   Desc page
                                                                                                                                                        Main 1 of ___
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 Debtor 1           Jason                  F.               Stapler
                     _______________________________________________________                                                 21-
                                                                                                      Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name


 Part 2:           List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      Y Yes

 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.1      $''JOBODF$P
       _____________________________________________________________              Last 4 digits of account number ___ ___ ___ ___                             
       Nonpriority Creditor’s Name                                                                                                                        $__________________
                                                                                  When was the debt incurred?           ____________
         $'%3
       _____________________________________________________________
       Number            Street

         )BNQUPO 7"
       _____________________________________________________________
       City                                             State          ZIP Code   As of the date you file, the claim is: Check all that apply.

                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated
       Y
             Debtor 1 only                                                          Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only                                          Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another                                Student loans

             Check if this claim is for a community debt                            Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
       Y
             No                                                                  Y
                                                                                                      3FUVSOFEBVUPNPCJMF
                                                                                      Other. Specify ______________________________________
             Yes

4.2       (PPEZhT                                                                Last 4 digits of account number ___ ___ ___ ___                            
                                                                                                                                                          $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
          /)JHI45
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
          $PMVNCVT 0)
       _____________________________________________________________
       City                                             State          ZIP Code
                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated
       Y
             Debtor 1 only
                                                                                     Disputed

             Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
             At least one of the debtors and another                                Student loans
                                                                                     Obligations arising out of a separation agreement or divorce
             Check if this claim is for a community debt                             that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
       Y                                                                          Y
                                                                                                       $SFEJUBDDPVOU
                                                                                      Other. Specify ______________________________________
             No
             Yes

4.3      $PNFOJUZ#BOL
       _____________________________________________________________              Last 4 digits of account number ___ ___ ___ ___                            
       Nonpriority Creditor’s Name                                                                                                                        $_________________
                                                                                  When was the debt incurred?           ____________
         10#PY
       _____________________________________________________________
       Number            Street

         $PMVNCVT 0)
       _____________________________________________________________              As of the date you file, the claim is: Check all that apply.
       City                                             State          ZIP Code

                                                                                     Contingent
       Who incurred the debt? Check one.
       Y
                                                                                     Unliquidated
             Debtor 1 only
                                                                                     Disputed
             Debtor 2 only
             Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
                                                                                     Student loans
             Check if this claim is for a community debt                            Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?
       Y                                                                             Debts to pension or profit-sharing plans, and other similar debts
             No                                                                  Y
                                                                                                      $SFEJUBDDPVOU
                                                                                      Other. Specify ______________________________________
             Yes



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                                                          Schedule E/F: Creditors Who Have Unsecured Claims
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 Debtor 1          Jason                  F.               Stapler
                    _______________________________________________________                                                21-
                                                                                                    Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                  Total claim



        $FMUJD#BOL(SPVQ
      _____________________________________________________________
                                                                                 Last 4 digits of account number ___ ___ ___ ___                            
                                                                                                                                                         $____________
      Nonpriority Creditor’s Name
                                                                                 When was the debt incurred?          ____________
        4UBUF45
      _____________________________________________________________
      Number            Street
                                                                                 As of the date you file, the claim is: Check all that apply.
       4BMU-BLF$JUZ 65
      _____________________________________________________________
      City                                             State          ZIP Code      Contingent
                                                                                    Unliquidated
      Who incurred the debt? Check one.                                             Disputed
      Y
            Debtor 1 only
            Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                    Student loans
            At least one of the debtors and another
                                                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
            Check if this claim is for a community debt
                                                                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                            
                                                                                 Y                   $SFEJUBDDPVOU
                                                                                     Other. Specify________________________________
      Y
            No
            Yes



        4ZODISPOZ#BOL                                                           Last 4 digits of account number ___ ___ ___ ___                            
                                                                                                                                                         $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                 When was the debt incurred?          ____________
       10#PY
      _____________________________________________________________
      Number            Street
                                                                                 As of the date you file, the claim is: Check all that apply.
       0SMBOEP '-
      _____________________________________________________________
      City                                             State          ZIP Code      Contingent
                                                                                    Unliquidated
      Who incurred the debt? Check one.                                             Disputed
      Y
            Debtor 1 only
            Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                    Student loans
            At least one of the debtors and another
                                                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
            Check if this claim is for a community debt
                                                                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                            Y
                                                                                                     $SFEJUBDDPVOU
                                                                                     Other. Specify________________________________
      Y
            No
            Yes

                                                                                                                                                         
                                                                                                                                                         $____________
        $PNFOJUZ#BOL1JFS                                                     Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                 When was the debt incurred?          ____________
       10#PY
      _____________________________________________________________
      Number            Street
                                                                                 As of the date you file, the claim is: Check all that apply.
       $PMVNCVT 0)
      _____________________________________________________________
      City                                             State          ZIP Code      Contingent
                                                                                    Unliquidated
      Who incurred the debt? Check one.                                             Disputed
      Y
            Debtor 1 only
            Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                    Student loans
            At least one of the debtors and another
                                                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
            Check if this claim is for a community debt
                                                                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                            Y
                                                                                                    $SFEJUBDDPVOU
                                                                                     Other. Specify________________________________
      Y
            No
            Yes




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2IILFLDO)RUP()
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                                                         Schedule E/F: Creditors Who Have Unsecured Claims
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 Debtor 1          Jason                  F.               Stapler
                    _______________________________________________________                                                21-
                                                                                                    Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                  Total claim



        ,PIMhT                                                                  Last 4 digits of account number ___ ___ ___ ___                            
      _____________________________________________________________                                                                                      $____________
      Nonpriority Creditor’s Name
                                                                                 When was the debt incurred?          ____________
        4UI45
      _____________________________________________________________
      Number            Street
                                                                                 As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
        .JMXBVLFF 8*
      City                                             State          ZIP Code      Contingent
                                                                                    Unliquidated
      Who incurred the debt? Check one.                                             Disputed
      Y
            Debtor 1 only
            Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                    Student loans
            At least one of the debtors and another
                                                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
            Check if this claim is for a community debt
                                                                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                            Y
                                                                                                     $SFEJUBDDPVOU
                                                                                     Other. Specify________________________________
      Y
            No
            Yes



                                                                                 Last 4 digits of account number ___ ___ ___ ___                             
                                                                                                                                                         $____________
        $BSF$SFEJU
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                 When was the debt incurred?          ____________
        10#PY
      _____________________________________________________________
      Number            Street
                                                                                 As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
        0SMBOEP '-
      City                                             State          ZIP Code      Contingent
                                                                                    Unliquidated
      Who incurred the debt? Check one.                                             Disputed
      Y
            Debtor 1 only
            Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                    Student loans
            At least one of the debtors and another
                                                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
            Check if this claim is for a community debt
                                                                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                            Y
                                                                                                    $SFEJUBDDPVOU
                                                                                     Other. Specify________________________________
      Y
            No
            Yes

                                                                                                                                                         
                                                                                                                                                         $____________
        4ZODISPOZ#BOL                                                           Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                 When was the debt incurred?          ____________
        10#PY
      _____________________________________________________________
      Number            Street
                                                                                 As of the date you file, the claim is: Check all that apply.
        0SMBOEP '-
      _____________________________________________________________
      City                                             State          ZIP Code      Contingent
                                                                                    Unliquidated
      Who incurred the debt? Check one.                                             Disputed
      Y
            Debtor 1 only
            Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                    Student loans
            At least one of the debtors and another
                                                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
            Check if this claim is for a community debt
                                                                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                            Y
                                                                                                      $SFEJUBDDPVOU
                                                                                     Other. Specify________________________________
      Y
            No
            Yes




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2IILFLDO)RUP()
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                                                         Schedule E/F: Creditors Who Have Unsecured Claims
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 Debtor 1           Jason                  F.               Stapler
                     _______________________________________________________                                                21-
                                                                                                     Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                   Total claim


         $BCFMBT                                                                  Last 4 digits of account number ___ ___ ___ ___                           
       _____________________________________________________________                                                                                      $____________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
         /8TU45
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
         -JODPMO /&
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                     $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes



         4ZDO&YQSFTT0JM$IBOHF                                                  Last 4 digits of account number ___ ___ ___ ___                           
                                                                                                                                                          $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
         10#PY
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
         0SMBOEP '-
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                     $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes

                                                                                                                                                         
                                                                                                                                                          $____________
            .JE"NFSJDB#BOL5SVTU
       _____________________________________________________________
                                                                                  Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
            4#JTIPQ"WF
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
         3PMMB .0
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                      $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes




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 Debtor 1           Jason                  F.               Stapler
                     _______________________________________________________                                                21-
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                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                   Total claim


         $SFEJU0OF#BOL                                                          Last 4 digits of account number ___ ___ ___ ___                            
       _____________________________________________________________                                                                                      $____________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
         &1JMPU3%
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
         -BT7FHBT /7
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                      $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y     No
             Yes



        .BDZT%4/#                                                                Last 4 digits of account number ___ ___ ___ ___                           Y
                                                                                                                                                          $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
        %VLF#MWE
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        .BTPO 0)
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                     $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes

                                                                                                                                                          
                                                                                                                                                          $____________
         4ZODI8BM.BSU                                                           Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
        10#PY
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        0SMBOEP '-
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                      $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes




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 Debtor 1           Jason                  F.               Stapler
                     _______________________________________________________                                                21-
                                                                                                     Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                   Total claim


        4ZODI-PXFhT                                                             Last 4 digits of account number ___ ___ ___ ___                            
       _____________________________________________________________                                                                                      $____________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
        10#PY
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        0SMBOEP '-
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                      $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes



         4ZODI#FML                                                              Last 4 digits of account number ___ ___ ___ ___                            
                                                                                                                                                          $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
        10#PY
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        0SMBOEP '-
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                     $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes


                                                                                                                                                         
                                                                                                                                                          $____________
            $SFEJU0OF#BOL                                                       Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
         &1JMPU3E
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
         -BT7FHBT /7
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       
       Y      Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                       $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes




              Case 21-81282-CRJ7
2IILFLDO)RUP()
                                                         Doc 1 Filed 07/23/21 Entered 07/23/21 15:13:39
                                                          Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                           Desc Mainpage __ of ___
                                                               Document            Page 29 of 66
 Debtor 1           Jason                  F.               Stapler
                     _______________________________________________________                                                21-
                                                                                                     Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                   Total claim



        $BQJUBM0OF+VTUJDF                                                       Last 4 digits of account number ___ ___ ___ ___                            
       _____________________________________________________________                                                                                      $____________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
        10#PY
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        4BMU-BLF$JUZ 65
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                     $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes



        $FMUJD#BOL                                                               Last 4 digits of account number ___ ___ ___ ___                            
                                                                                                                                                          $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
        10#PY
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        #FBWFSUPO 03
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                      $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes

                                                                                                                                                         
                                                                                                                                                          $____________
         3FETUPOF'FE$SFEJU6OJPO                                                Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
        8ZOO%3/8
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        )VOUTWJMMF "-
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                     $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       
       Y      No
             Yes




              Case 21-81282-CRJ7
2IILFLDO)RUP()
                                                         Doc 1 Filed 07/23/21 Entered 07/23/21 15:13:39
                                                          Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                           Desc Mainpage __ of ___
                                                               Document            Page 30 of 66
 Debtor 1           Jason                  F.               Stapler
                     _______________________________________________________                                                21-
                                                                                                     Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                   Total claim



         .JMJUBSZ$SFEJU4FSW
       _____________________________________________________________
                                                                                  Last 4 digits of account number ___ ___ ___ ___                            
                                                                                                                                                          $____________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
         &-JUUMF$SFFL3%
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        /PSGPML 7"
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                     $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes



        $PNFOJUZ$BQJUBM(BNFTUPQ                                                 Last 4 digits of account number ___ ___ ___ ___                            
                                                                                                                                                          $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
        10CPY
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        $PMVNCVT 0)
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                     $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes

                                                                                                                                                          
                                                                                                                                                          $____________
            .FSJDL#BOL$PSQ                                                      Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
         10#PY
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
         #FUIQBHF /:
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       
       Y      Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                     $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes




              Case 21-81282-CRJ7
2IILFLDO)RUP()
                                                         Doc 1 Filed 07/23/21 Entered 07/23/21 15:13:39
                                                          Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                           Desc Mainpage __ of ___
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 Debtor 1           Jason                  F.               Stapler
                     _______________________________________________________                                                21-
                                                                                                     Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                   Total claim



         'JSTU1SFNJFS                                                            Last 4 digits of account number ___ ___ ___ ___                             
       _____________________________________________________________                                                                                      $____________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
        10#PY
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        4JPVY'BMMT 4%
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                      $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes



         'SBOLMJO$PMM4FSW                                                       Last 4 digits of account number ___ ___ ___ ___                            
                                                                                                                                                          $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
         8'SBOLMJO
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
         5VQFMP .4
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       
       Y      Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                      $PMMFDUJPOGPS.FEJDBMCJMM
                                                                                      Other. Specify________________________________
       Y
             No
             Yes

                                                                                                                                                         
                                                                                                                                                          $____________
            'PY$PMMFDUJPO$53                                                    Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
         .PTT5SBJM
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
         (PPEMFUUTWJMMF 5/
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                      $PMMFDUJPO
                                                                                      Other. Specify________________________________
       Y
             No
             Yes




              Case 21-81282-CRJ7
2IILFLDO)RUP()
                                                         Doc 1 Filed 07/23/21 Entered 07/23/21 15:13:39
                                                          Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                           Desc Mainpage __ of ___
                                                               Document            Page 32 of 66
 Debtor 1           Jason                  F.               Stapler
                     _______________________________________________________                                                21-
                                                                                                     Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                   Total claim



        1SPGFTTJPOBM"DDPVOU4FSW                                                 Last 4 digits of account number ___ ___ ___ ___                            
       _____________________________________________________________                                                                                      $____________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
        10#PY
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        #SFOUXPPE 5/
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                     $PMMFDUJPO
                                                                                      Other. Specify________________________________
       Y
             No
             Yes



         3FETUPOF'FE$SFEJU6OJPO                                                Last 4 digits of account number ___ ___ ___ ___                            
                                                                                                                                                          $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
         8ZOO%3/8
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        )VOUTWJMMF "-
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                      $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes

                                                                                                                                                        
                                                                                                                                                          $____________
         )VOUTWJMMF)PTQJUBM                                                      Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
         4JWMFZ3%
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
         )VOUTWJMMF "-
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                      .FEJDBMCJMM
                                                                                      Other. Specify________________________________
       Y
             No
             Yes




              Case 21-81282-CRJ7
2IILFLDO)RUP()
                                                         Doc 1 Filed 07/23/21 Entered 07/23/21 15:13:39
                                                          Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                           Desc Mainpage __ of ___
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 Debtor 1           Jason                  F.               Stapler
                     _______________________________________________________                                                21-
                                                                                                     Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                   Total claim



        -7/7'VOEJOH--$                                                          Last 4 digits of account number ___ ___ ___ ___                             
       _____________________________________________________________                                                                                      $____________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
        10#PY
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        -BT7FHBT /7
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                        $PMMFDUJPO
                                                                                      Other. Specify________________________________
       Y
             No
             Yes



         $SFEJU$PMMFDUJPO4FSW                                                 Last 4 digits of account number ___ ___ ___ ___                           
                                                                                                                                                          $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
         10#PY
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
         +BTQFS "-
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                      $PMMFDUJPOGPS.FEJDBMCJMM
                                                                                      Other. Specify________________________________
       Y
             No
             Yes

                                                                                                                                                         
                                                                                                                                                          $____________
         8BGFGJFME"TTPD                                                        Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
        &#FUIBOZ%3
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        "VSPSB $0
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                       $PMMFDUJPO
                                                                                      Other. Specify________________________________
       Y
             No
             Yes




              Case 21-81282-CRJ7
2IILFLDO)RUP()
                                                         Doc 1 Filed 07/23/21 Entered 07/23/21 15:13:39
                                                          Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                           Desc Mainpage __ of ___
                                                               Document            Page 34 of 66
 Debtor 1           Jason                  F.               Stapler
                     _______________________________________________________                                                21-
                                                                                                     Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                   Total claim



               4BOUBOEFS$POTVNFS64"
       _____________________________________________________________
                                                                                  Last 4 digits of account number ___ ___ ___ ___                            
                                                                                                                                                          $____________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
           10#PY
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
           %BMMBT 59
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                     3FQPTTFTTFE$IFWSPMFU4JMWFSBEP
                                                                                      Other. Specify________________________________
       Y
             No
             Yes



                                                                                  Last 4 digits of account number ___ ___ ___ ___                            
               $SFEJU0OF#BOL
       _____________________________________________________________
                                                                                                                                                          $____________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
           10#PY
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
           $JUZPG*OEVTUSZ $"
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                       $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes

                                                                                                                                                         
                                                                                                                                                          $____________
            $PNFOJUZ#BOL#VDLMF                                                  Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________
       Nonpriority Creditor’s Name
            10#PY                                                         When was the debt incurred?          ____________
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
         $PMVNCVT 0)
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       
       Y      Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                       $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes




              Case 21-81282-CRJ7
2IILFLDO)RUP()
                                                         Doc 1 Filed 07/23/21 Entered 07/23/21 15:13:39
                                                          Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                           Desc Mainpage __ of ___
                                                               Document            Page 35 of 66
 Debtor 1           Jason                  F.               Stapler
                     _______________________________________________________                                                21-
                                                                                                     Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                   Total claim



                $PNFOJUZ#BOL4UBHF
       _____________________________________________________________
                                                                                  Last 4 digits of account number ___ ___ ___ ___                            
                                                                                                                                                          $____________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
                10#PY
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
            $PMVNCVT 0)
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                     $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       Y
             No
             Yes



               -JCFSUZ'JOBODF                                                    Last 4 digits of account number ___ ___ ___ ___                            
                                                                                                                                                          $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
            /.BJO45
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
            "SBC "-
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                       $SFEJUBDDPVOU
                                                                                      Other. Specify________________________________
       
       Y      No
             Yes


                                                                                                                                                          
                                                                                                                                                          $____________
            $BS.BY$"'                                                            Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                  When was the debt incurred?          ____________
            $IBTUBJO.FBEPXT$U
       _____________________________________________________________
       Number            Street
                                                                                  As of the date you file, the claim is: Check all that apply.
            ,FOOFTBX ("
       _____________________________________________________________
       City                                             State          ZIP Code      Contingent
                                                                                     Unliquidated
       Who incurred the debt? Check one.                                             Disputed
       Y
             Debtor 1 only
             Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                     Student loans
             At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
             Check if this claim is for a community debt
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                            Y
                                                                                                     3FQPTTFTTFEBVUP
                                                                                      Other. Specify________________________________
       Y
             No
             Yes




              Case 21-81282-CRJ7
2IILFLDO)RUP()
                                                         Doc 1 Filed 07/23/21 Entered 07/23/21 15:13:39
                                                          Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                           Desc Mainpage __ of ___
                                                               Document            Page 36 of 66
 Debtor 1          Jason                  F.               Stapler
                    _______________________________________________________                                                21-
                                                                                                    Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims Ʌ Continuation Page


 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                                  Total claim



                                                                                 Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________                                                                                      $____________
      Nonpriority Creditor’s Name
                                                                                 When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street
                                                                                 As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code      Contingent
                                                                                    Unliquidated
      Who incurred the debt? Check one.                                             Disputed
            Debtor 1 only
            Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                    Student loans
            At least one of the debtors and another
                                                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
            Check if this claim is for a community debt
                                                                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               Other. Specify________________________________
            No
            Yes




                                                                                 Last 4 digits of account number ___ ___ ___ ___                         $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                 When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street
                                                                                 As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code      Contingent
                                                                                    Unliquidated
      Who incurred the debt? Check one.                                             Disputed
            Debtor 1 only
            Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                    Student loans
            At least one of the debtors and another
                                                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
            Check if this claim is for a community debt
                                                                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               Other. Specify________________________________
            No
            Yes


                                                                                                                                                         $____________
                                                                                 Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                 When was the debt incurred?          ____________
      _____________________________________________________________
      Number            Street
                                                                                 As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
      City                                             State          ZIP Code      Contingent
                                                                                    Unliquidated
      Who incurred the debt? Check one.                                             Disputed
            Debtor 1 only
            Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                    Student loans
            At least one of the debtors and another
                                                                                    Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
            Check if this claim is for a community debt
                                                                                    Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               Other. Specify________________________________
            No
            Yes




             Case 21-81282-CRJ7
2IILFLDO)RUP()
                                                        Doc 1 Filed 07/23/21 Entered 07/23/21 15:13:39
                                                         Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                          Desc Mainpage __ of ___
                                                              Document            Page 37 of 66
 Debtor 1       Jason                  F.               Stapler
                _______________________________________________________                                                 21-
                                                                                                 Case number (if known)_____________________________________
                First Name    Middle Name           Last Name



 Part 3:       List Others to Be Notified About a Debt That You Already Listed

 5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
     example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
     2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
     additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
      _____________________________________________________
                                                                           Last 4 digits of account number ___ ___ ___ ___
      _____________________________________________________
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________
                                                                           Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________
                                                                           Claims

      _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
      City                                  State               ZIP Code


      _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      _____________________________________________________                Line _____ of (Check one):      Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                           Part 2: Creditors with Nonpriority Unsecured
      _____________________________________________________                Claims

      _____________________________________________________
      City                                  State               ZIP Code
                                                                           Last 4 digits of account number ___ ___ ___ ___


             Case 21-81282-CRJ7
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                                                Doc 1 Filed 07/23/21 Entered 07/23/21 15:13:39
                                                 Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                                    Desc Mainpage __ of ___
                                                      Document            Page 38 of 66
Debtor 1     Jason                  F.               Stapler
              _______________________________________________________                                         21-
                                                                                       Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Part 4:     Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                  Total claim


                6a. Domestic support obligations                          6a.          
Total claims                                                                      $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government
                                                                                        
                                                                          6b. $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                           6c.          
                                                                                  $_________________________

                6d. Other. Add all other priority unsecured claims.
                                                                                       
                    Write that amount here.                               6d.
                                                                                + $_________________________

                6e. Total. Add lines 6a through 6d.                       6e.           
                                                                                $_________________________



                                                                                  Total claim

                                                                                            
                                                                                     $_________________________
                6f. Student loans                                         6f.
Total claims
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                6g.
                                                                                       
                                                                                   $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                                                                                       
                    similar debts                                         6h.     $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                               6i.   + $_________________________
                                                                                       


                6j. Total. Add lines 6f through 6i.                       6j.            
                                                                                      
                                                                                $_________________________




           Case 21-81282-CRJ7
2IILFLDO)RUP()
                                                Doc 1 Filed 07/23/21 Entered 07/23/21 15:13:39
                                                 Schedule E/F: Creditors Who Have Unsecured Claims
                                                                                                                         Desc Mainpage __ of ___
                                                      Document            Page 39 of 66
 Fill in this information to identify your case:


 Debtor 1           Jason                  F.               Stapler
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: Northern District
                                         __________        of Alabama__________
                                                      District of ___________

 Case number          21-
                     ___________________________________________                                      Check if this is:
  (If known)
                                                                                                       An amended filing
                                                                                                       A supplement showing postpetition chapter 13
                                                                                                            income as of the following date:
                                                                                                            _______BBBBBB
2IILFLDO)RUP 106I                                                                                          MM / DD / YYYY

Schedule I: Your Income                                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:           Describe Employment


1. Fill in your employment
    information.                                                         Debtor 1                                       Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       Y Employed
    information about additional         Employment status                                                                Employed
    employers.                                                         Not employed                                       Not employed
    Include part-time, seasonal, or
    self-employed work.                                               *OWFOUPSZ
                                         Occupation                 __________________________________               __________________________________
    Occupation may include student
    or homemaker, if it applies.
                                                                      :VMJTUB
                                         Employer’s name            __________________________________               __________________________________

                                                                      #VTJOFTT1,#MWE45&
                                                                    _______________________________________
                                         Employer’s address                                                        ________________________________________
                                                                     Number     Street                              Number    Street

                                                                   _______________________________________         ________________________________________

                                                                      "ODIPSBHF "-
                                                                   _______________________________________         ________________________________________
                                                                    _______________________________________
                                                                                                                   ________________________________________
                                                                     City                State   ZIP Code            City                State ZIP Code

                                         How long employed there?         _______
                                                                           NPOUIT                                   _______

 Part 2:           Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                 For Debtor 1        For Debtor 2 or
                                                                                                                     non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.         2.          
                                                                                                 $___________             $____________

 3. Estimate and list monthly overtime pay.                                              3.   + $___________        +     $____________


 4. Calculate gross income. Add line 2 + line 3.                                         4.          
                                                                                                 $__________            $____________




Official Form
          Case106I 21-81282-CRJ7                  Doc 1       Schedule
                                                           Filed       I: Your Income
                                                                 07/23/21         Entered 07/23/21 15:13:39                               page 1
                                                                                                                                   Desc Main
                                                          Document         Page 40 of 66
Debtor 1         Jason                  F.               Stapler
                  _______________________________________________________                                                                          21-
                                                                                                                            Case number (if known)_____________________________________
                 First Name         Middle Name                Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

   Copy line 4 here............................................................................................... Î 4.         
                                                                                                                            $___________            $_____________

5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                             5a.        
                                                                                                                           $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                              5b.         
                                                                                                                           $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                              5c.     $____________           $_____________
     5d. Required repayments of retirement fund loans                                                              5d.     $____________            $_____________
     5e. Insurance                                                                                                 5e.         
                                                                                                                            $____________           $_____________
     5f. Domestic support obligations                                                                              5f.     $____________            $_____________

     5g. Union dues                                                                                                5g.     $____________            $_____________

     5h. Other deductions. Specify: __________________________________                                             5h.    + $____________       +   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                     6.         
                                                                                                                           $____BBBBBBBB            $_____________

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                             7.          
                                                                                                                           $____________            $_____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total
                                                                                                                           $____________            $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.     $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                           $____________            $_____________
           settlement, and property settlement.                                                                    8c.
     8d. Unemployment compensation                                                                                 8d.     $____________            $_____________
     8e. Social Security                                                                                           8e.     $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                  $____________            $_____________

     8g. Pension or retirement income                                                                              8g.     $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                            8h.    + $____________       + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                           9.     $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.                                                                                                                     
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.    $___________     +       $_____________     =   $_____________


11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                     11.   +   $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                           12.
                                                                                                                                                                               
                                                                                                                                                                           $_____________
                                                                                                                                                                           Combined
                                                                                                                                                                           monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:


2IILFLDO)RUP,
          Case 21-81282-CRJ7                                 Doc 1             Schedule
                                                                            Filed       I: Your Income
                                                                                  07/23/21         Entered 07/23/21 15:13:39                                         page 2
                                                                                                                                                              Desc Main
                                                                           Document         Page 41 of 66
   Fill in this information to identify your case:

   Debtor 1          Jason                  F.               Stapler
                     __________________________________________________________________
                       First Name              Middle Name             Last Name                       Check if this is:
   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                        An amended filing
                                                                                                        A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Northern District
                                           __________        of Alabama__________
                                                        District of __________                             expenses as of the following date:
                                                                                                           ________________
   Case number         21-
                       ___________________________________________                                         MM / DD / YYYY
    (If known)




 2IILFLDO)RUP 106J
 Schedule J: Your Expenses                                                                                                                            12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (if known). Answer every question.

  Part 1:            Describe Your Household

 1. Is this a joint case?

    
    Y    No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 2. Do you have dependents?                     No                                 Dependent’s relationship to              Dependent’s    Does dependent live
    Do not list Debtor 1 and                 
                                             Y   Yes. Fill out this information for Debtor 1 or Debtor 2                     age            with you?
    Debtor 2.                                    each dependent ..........................
    Do not state the dependents’                                                      %BV                                                     No
                                                                                    _________________________                ________
    names.                                                                                                                                 
                                                                                                                                           Y    Yes

                                                                                    _________________________                ________          No
                                                                                                                                               Yes

                                                                                    _________________________                ________          No
                                                                                                                                               Yes

                                                                                    _________________________                ________          No
                                                                                                                                               Yes

                                                                                    _________________________                ________          No
                                                                                                                                               Yes

 3. Do your expenses include
    expenses of people other than
                                                No
    yourself and your dependents?               Yes


 Part 2:         Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                          Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                 
                                                                                                                               $_____________________
      any rent for the ground or lot.                                                                                  4.

      If not included in line 4:
      4a.    Real estate taxes                                                                                         4a.     $_____________________
      4b.    Property, homeowner’s, or renter’s insurance                                                              4b.     $_____________________
      4c.    Home maintenance, repair, and upkeep expenses                                                             4c.     $_____________________
      4d.    Homeowner’s association or condominium dues                                                               4d.     $_____________________

Official Form 106J                                             Schedule J: Your Expenses                                                          page 1
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 Debtor 1        Jason                  F.               Stapler
                  _______________________________________________________                                          21-
                                                                                            Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                       Your expenses

                                                                                                                      $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                 5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                     6a.    $______________BBBBBBB

      6b.   Water, sewer, garbage collection                                                                   6b.
                                                                                                                      $_____________________

      6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.         
                                                                                                                      $_____________________
      6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________

 7. Food and housekeeping supplies                                                                             7.           
                                                                                                                      $_____________________

 8. Childcare and children’s education costs                                                                   8.     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                        9.     $_____________________
10. Personal care products and services                                                                        10.
                                                                                                                          
                                                                                                                      $_____________________
11. Medical and dental expenses                                                                                11.        
                                                                                                                      $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.                                                          
                                                                                                                      $_____________________
      Do not include car payments.                                                                             12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
14.   Charitable contributions and religious donations                                                         14.    $_____________________

15. Insurance.                                                                                                                                       1

      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                      15a.   $_____________________
      15b. Health insurance                                                                                    15b.   $_____________________
      15c. Vehicle insurance                                                                                   15c.       
                                                                                                                      $_____________________
      15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: ________________________________________________________                                        16.    $_____________________

17. Installment or lease payments:

                                                                                                              17a.
                                                                                                                           
                                                                                                                      $_____________________
      17a. Car payments for Vehicle 1

      17b. Car payments for Vehicle 2                                                                          17b.   $_____________________

      17c. Other. Specify:_______________________________________________                                      17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                      17d.   $_____________________

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.         
                                                                                                                      $_____________________

19. Other payments you make to support others who do not live with you.

      Specify:_______________________________________________________                                           19.   $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                         20a.   $_____________________

      20b. Real estate taxes                                                                                   20b.   $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________

      20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________



2IILFLDO)RUP-                                              Schedule J: Your Expenses                                                   page 2
            Case 21-81282-CRJ7                   Doc 1          Filed 07/23/21 Entered 07/23/21 15:13:39                      Desc Main
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 Debtor 1        Jason                  F.               Stapler
                  _______________________________________________________                                              21-
                                                                                                Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify: _________________________________________________                                           21.   +$_____________________

22.    Calculate your monthly expenses.
                                                                                                                                 
                                                                                                                          $_____________BBBBBBBB
       22a. Add lines 4 through 21.                                                                              22a.

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                      22b.     $_____________________

       22c. Add line 22a and 22b. The result is your monthly expenses.                                           22c.            
                                                                                                                          $_____________________



23. Calculate your monthly net income.                                                                                           
                                                                                                                           $___BBBB___________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         B

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.           
                                                                                                                         – $_____________BBBBBBBB
      23c.   Subtract your monthly expenses from your monthly income.                                                            
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      Y   No.
         Yes.     Explain here:




2IILFLDO)RUP-                                             Schedule J: Your Expenses                                                        page 3
             Case 21-81282-CRJ7                  Doc 1         Filed 07/23/21 Entered 07/23/21 15:13:39                           Desc Main
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Fill in this information to identify your case:

Debtor 1           Jason                  F.              Stapler
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


United States Bankruptcy Court for the: Northern District
                                        __________        of Alabama__________
                                                     District of __________

Case number          21-
                    ___________________________________________
(If known)
                                                                                                                                              
                                                                                                                                              Y Check if this is an
                                                                                                                                                  amended filing



  2IILFLDO)RUP 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                       12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       Y No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




    8 T+BTPO'4UBQMFS
          ______________________________________________             8
                                                                      _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2

                    
         Date _________________                                            Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules
               Case 21-81282-CRJ7                        Doc 1    Filed 07/23/21 Entered 07/23/21 15:13:39                                 Desc Main
                                                                 Document     Page 45 of 66
   Fill in this information to identify your case:

   Debtor 1          Jason                   F.              Stapler
                     __________________________________________________________________
                       First Name             Middle Name                Last Name

   Debtor 2            ________________________________________________________________
   (Spouse, if filing) First Name             Middle Name                Last Name


                                           __________
   United States Bankruptcy Court for the: Northern District of Alabama__________
                                                        District of ______________

   Case number         21-
                       ___________________________________________
    (If known)                                                                                                                           Check if this is an
                                                                                                                                           amended filing




 2IILFLDO)RUP 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                      

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


   Part 1:         Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?


         Married
        
        Y Not married

   2. During the last 3 years, have you lived anywhere other than where you live now?

            No
       
       Y     Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

                 Debtor 1:                                        Dates Debtor 1       Debtor 2:                                             Dates Debtor 2
                                                                  lived there                                                                lived there


                                                                                        Same as Debtor 1                                      Same as Debtor 1

                   )XZ&BTU
                 __________________________________________       From     ________       ___________________________________________           From ________
                  Number    Street                                                        Number Street
                                                                  To         
                                                                           ________                                                             To    ________
                 __________________________________________                               ___________________________________________

                  -BDFZhT4QSJOHT "-
                 __________________________________________                               ___________________________________________
                 City                    State ZIP Code                                   City                    State ZIP Code


                                                                                        Same as Debtor 1                                      Same as Debtor 1

                 __________________________________________       From     ________       ___________________________________________           From ________
                  Number    Street                                                        Number Street
                                                                  To       ________                                                             To    ________
                 __________________________________________                               ___________________________________________

                 __________________________________________                               ___________________________________________
                 City                    State ZIP Code                                   City                    State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
       states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       
       Y     No
            Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).



   Part 2: Explain the Sources of Your Income

Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1

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Debtor 1        Jason                  F.               Stapler
                 _______________________________________________________                                                         21-
                                                                                                          Case number (if known)_____________________________________
                 First Name     Middle Name           Last Name




 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
    
     Y     Yes. Fill in the details.

                                                            Debtor 1                                               Debtor 2

                                                            Sources of income             Gross income             Sources of income           Gross income
                                                            Check all that apply.         (before deductions and   Check all that apply.       (before deductions and
                                                                                          exclusions)                                          exclusions)


            From January 1 of current year until             
                                                             Y    Wages, commissions,                         Wages, commissions,
                                                                  bonuses, tips           $________________            bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                                 Operating a business                                Operating a business


            For last calendar year:                          
                                                             Y    Wages, commissions,
                                                                                                              Wages, commissions,
                                                              bonuses, tips                                        bonuses, tips           $________________
                                                                                          $________________
            (January 1 to December 31, _________)                Operating a business                                Operating a business
                                              YYYY


                                                             Y
                                                                 Wages, commissions,                                 Wages, commissions,
            For the calendar year before that:
                                                                  bonuses, tips                                 bonuses, tips
                                        
            (January 1 to December 31, _________)                                                                                              $________________
                                                                 Operating a business    $________________           Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
     unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
     gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     Y     No
          Yes. Fill in the details.
                                                             Debtor 1                                               Debtor 2

                                                             Sources of income            Gross income from         Sources of income          Gross income from
                                                             Describe below.              each source               Describe below.            each source
                                                                                          (before deductions and                               (before deductions and
                                                                                          exclusions)                                          exclusions)


                                                 __________________                      $_________________ _____________________ $_________________
            From January 1 of current year until
            the date you filed for bankruptcy:   __________________                      $_________________ _____________________ $_________________
                                                           __________________            $_________________ _____________________ $_________________


            For last calendar year:                        __________________            $_________________ _____________________ $_________________

            (January 1 to December 31, ______)             __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                           __________________            $_________________ _____________________ $_________________



            For the calendar year before that:             __________________            $_________________ _____________________ $_________________
            (January 1 to December 31, ______)             __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                           __________________            $_________________ _____________________ $_________________




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Debtor 1      Jason                  F.               Stapler
               _______________________________________________________                                                    21-
                                                                                                   Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/ and every 3 years after that for cases filed on or after the date of adjustment.

 
  Y        Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               
               Y    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________
                      Creditor’s Name
                                                                      _________     $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      ____________________________________            _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________            _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                       Other ____________


                      ____________________________________            _________     $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________            _________                                                          Credit card
                      Number    Street

                                                                                                                                         Loan repayment
                      ____________________________________            _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________            _________     $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________            _________                                                          Credit card
                      Number    Street

                                                                                                                                         Loan repayment
                      ____________________________________            _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



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Debtor 1        Jason                  F.               Stapler
                 _______________________________________________________                                                    21-
                                                                                                     Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.
     Y
          No
          Yes. List all payments to an insider.
                                                                          Dates of    Total amount     Amount you still    Reason for this payment
                                                                          payment     paid             owe


            ____________________________________________                _________    $____________ $____________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________                _________
            Insider’s Name

            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     Y     No
          Yes. List all payments that benefited an insider.
                                                                         Dates of     Total amount     Amount you still    Reason for this payment
                                                                         payment      paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________                _________    $____________ $____________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________                _________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code




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Debtor 1        Jason                  F.               Stapler
                 _______________________________________________________                                                              21-
                                                                                                               Case number (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures
 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     
     Y     No
          Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                Status of the case



            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                           Pending

                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code




            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                           Pending

                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code



 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

          No. Go to line 11.
     
     Y     Yes. Fill in the information below.

                                                                              Describe the property                                     Date          Value of the property


                        4BOUBOEFS$POTVNFS64"
                 _________________________________________                         $IFWSPMFU4JMWFSBEP                                     
                                                                                                                                        __________        
                                                                                                                                                      $______________
                 Creditor’s Name

                        10#PY
                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                              Y
                                                                                  Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                        %BMMBT 59                                          Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                     Date           Value of the property



                                                                                                                                       __________     $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________
                 City                               State   ZIP Code
                                                                                  Property was garnished.
                                                                                  Property was attached, seized, or levied.



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Debtor 1          Jason                  F.               Stapler
                   _______________________________________________________                                                      21-
                                                                                                         Case number (if known)_____________________________________
                   First Name    Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     Y     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action      Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number      Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     Y     No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     Y
          No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave       Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________          $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________          $_____________

           ______________________________________
           Number      Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number      Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


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                   _______________________________________________________                                                            21-
                                                                                                               Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     Y     No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                         Date you           Value
            that total more than $600                                                                                                   contributed



           _____________________________________                                                                                        _________          $_____________
           Charity’s Name


           _____________________________________                                                                                        _________          $_____________


           _____________________________________
           Number      Street



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
     disaster, or gambling?

     
     Y     No
          Yes. Fill in the details.

            Describe the property you lost and                     Describe any insurance coverage for the loss                         Date of your       Value of property
            how the loss occurred                                                                                                       loss               lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.


                                                                                                                                        _________          $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
     you consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     
     Y     No
          Yes. Fill in the details.

                                                                   Description and value of any property transferred                    Date payment or    Amount of payment
            ___________________________________                                                                                         transfer was
            Person Who Was Paid                                                                                                         made

            ___________________________________
            Number       Street                                                                                                         _________          $_____________

            ___________________________________
                                                                                                                                        _________          $_____________
            ___________________________________
            City                       State    ZIP Code


            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



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Debtor 1        Jason                  F.               Stapler
                 _______________________________________________________                                                            21-
                                                                                                             Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred               Date payment or        Amount of
                                                                                                                                    transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                    _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                    _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     Y     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred               Date payment or       Amount of payment
                                                                                                                                    transfer was
            ____________________________________                                                                                    made
            Person Who Was Paid

            ____________________________________                                                                                    _________             $____________
            Number        Street

            ____________________________________
                                                                                                                                    _________             $____________
            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     Y     No
          Yes. Fill in the details.
                                                                    Description and value of property        Describe any property or payments received      Date transfer
                                                                    transferred                              or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                              _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                             _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

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Debtor 1        Jason                  F.               Stapler
                 _______________________________________________________                                                            21-
                                                                                                             Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)
     Y
          No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     Y
          No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number     Type of account or        Date account was       Last balance before
                                                                                                       instrument                closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                   XXXX–___ ___ ___ ___                Checking                _________              $___________
            ____________________________________
            Number       Street
                                                                                                        Savings
            ____________________________________                                                        Money market
            ____________________________________
                                                                                                        Brokerage
            City                       State    ZIP Code
                                                                                                        Other__________

            ____________________________________                   XXXX–___ ___ ___ ___                Checking                _________              $___________
            Name of Financial Institution
                                                                                                        Savings
            ____________________________________
            Number       Street                                                                         Money market
            ____________________________________                                                        Brokerage
            ____________________________________                                                        Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     Y     No
          Yes. Fill in the details.
                                                                   Who else had access to it?                      Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________
            Name of Financial Institution
                                                                  _______________________________________
                                                                  Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________                                                      
            Number       Street                                   Number   Street

            ____________________________________
                                                                  _______________________________________
                                                                  City       State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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Debtor 1           Jason                  F.               Stapler
                    _______________________________________________________                                                                     21-
                                                                                                                         Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    Y
          No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                               No
             Name of Storage Facility                                Name
                                                                                                                                                                           Yes
             ___________________________________                     _______________________________________                                                              
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Part 9:              Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     Y
          No
          Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Part 10:             Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     Y     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                  Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code




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Debtor 1        Jason                  F.               Stapler
                 _______________________________________________________                                                                      21-
                                                                                                                       Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     Y
          No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                   Date of notice


            ____________________________________ _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                        _________

            ____________________________________ _______________________________
            Number        Street                                  Number     Street


            ____________________________________ _______________________________
                                                                  City                  State    ZIP Code

            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     Y
          No
          Yes. Fill in the details.
                                                                                                                                                                        Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                        case

           Case title______________________________
                                                                    ________________________________
                                                                    Court Name
                                                                                                                                                                         Pending
           ______________________________________
                                                                                                                                                                         On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                   Concluded

           ______________________________________
                                                                    ________________________________
           Case number                                              City                        State   ZIP Code                                                        

 Part 11:            Give Details About Your Business or Connections to Any Business
 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     
     Y     No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

                                                                                                                                      From     _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                               Employer Identification number
            ____________________________________                                                                                      Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                      EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                  Dates business existed
            ____________________________________

            ____________________________________
                                                                                                                                      From     _______ To _______
            City                        State    ZIP Code


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Debtor 1        Jason                  F.               Stapler
                 _______________________________________________________                                                         21-
                                                                                                          Case number (if known)_____________________________________
                   First Name      Middle Name          Last Name




                                                                                                                        Employer Identification number
                                                                Describe the nature of the business
                                                                                                                        Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                        EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                        From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     Y     No
          Yes. Fill in the details below.

                                                                Date issued



            ____________________________________                ____________
            Name                                                MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.



      8            T+BTPO'4UBQMFS
            ______________________________________________                    8_____________________________
            Signature of Debtor 1                                                Signature of Debtor 2
                                   
                       Date ________________
                                                                                 Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      Y      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      Y     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                              Declaration, and Signature (Official Form 119).




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Fill in this information to identify your case:

Debtor 1           Jason                  F.              Stapler
                  __________________________________________________________________
                    First Name              Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name                Last Name


United States Bankruptcy Court for the: Northern District
                                        __________        of Alabama__________
                                                     District of __________

Case number          21-
                    ___________________________________________                                                                              Check if this is an
 (If known)                                                                                                                                   amended filing



  2IILFLDO)RUP 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                         12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Part 1:          List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                    secures a debt?                                   as exempt on Schedule C?

          Creditor’s                  /"                                               Surrender the property.                         No
          name:
                                                                                   Y
                                                                                        Retain the property and redeem it.            Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                                Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                       ______________________________________


         Creditor’s                                                                 Surrender the property.                           No
         name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                                Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                       ______________________________________

         Creditor’s                                                                 Surrender the property.                           No
         name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                                Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                       ______________________________________

         Creditor’s                                                                 Surrender the property.                           No
         name:
                                                                                    Retain the property and redeem it.                Yes
         Description of
         property                                                                   Retain the property and enter into a
         securing debt:                                                                Reaffirmation Agreement.
                                                                                    Retain the property and [explain]: __________
                                                                                       ______________________________________

            Case
  Official Form 108         21-81282-CRJ7    Docof1Intention
                                        Statement      Filed for07/23/21        Entered
                                                                Individuals Filing         07/23/21
                                                                                   Under Chapter 7  15:13:39                          Desc Main
                                                                                                                                           page 1
                                                     Document           Page 58 of 66
 Debtor 1            Jason                  F.              Stapler
                    ______________________________________________________                                                 21-
                                                                                                    Case number (If known)_____________________________________
                    First Name          Middle Name     Last Name




   Part 2:          List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

        Describe your unexpired personal property leases                                                                    Will the lease be assumed?

       Lessor’s name:                                                                                                      No
                                                                                                                            Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                      No
                                                                                                                            Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                      No
       Description of leased                                                                                                Yes
       property:


       Lessor’s name:                                                                                                      No
                                                                                                                            Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                      No
                                                                                                                            Yes
       Description of leased
       property:


       Lessor’s name:                                                                                                      No
                                                                                                                            Yes
       Description of leased
       property:
  
       Lessor’s name:                                                                                                      No
                                                                                                                            Yes
       Description of leased
       property:




  Part 3:           Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.



  8         T+BTPO'4UBQMFS
       ___________________________________________                    8 ___________________________________________
       Signature of Debtor 1                                              Signature of Debtor 2

                     
       Date _________________                                             Date _________________
             MM /     DD     /   YYYY                                          MM /   DD /   YYYY




2IILFLDO)RUP
           Case          21-81282-CRJ7                Statement
                                                       Doc 1 of Intention for IndividualsEntered
                                                                Filed 07/23/21           Filing Under Chapter 7
                                                                                                    07/23/21         15:13:39        Desc page
                                                                                                                                          Main 2
                                                                    Document          Page 59 of 66
B2030 (Form 2030) (12/15)




                                      United States Bankruptcy Court
                                        _______________
                                         /PSUIFSO       District Of _______________
                                                                     "MBCBNB


In re     +BTPO'4UBQMFS

                                                                                                             
                                                                                                Case No. ____BBBBBBBB

Debtor                                                                                                      
                                                                                                Chapter __________________

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:
                                                                                                                 
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                              

                                                                                                                                 
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $________BBBBBB

2.   The source of the compensation paid to me was:

           9 Debtor                                  Other (specify)

3.   The source of compensation to be paid to me is:

           9 Debtor                                  Other (specify)

4.         9 I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;




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6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:

     3FQSFTFOUBUJPOJOBEWFSTBSZQSPDFFEJOHT 3VMFFYBNJOBUJPOT PCKFDUJPOTUPEJTDIBSHF BOEPUIFSDPOUFTUFECBOLSVQUDZ
     NBUUFSTPSUIFGJMJOHPGBNFOEFETDIFEVMFT




                                                     CERTIFICATION

             I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
          me for representation of the debtor(s) in this bankruptcy proceeding.
               
          ___________BBBBBBBB                  4$ZOUIJB38SJHIU
          Date                                     Signature of Attorney
                                                $ZOUIJB38SJHIU 1$
                                                   Name of law firm




Case 21-81282-CRJ7                Doc 1      Filed 07/23/21 Entered 07/23/21 15:13:39                              Desc Main
                                            Document     Page 61 of 66
 Fill in this information to identify your case:                                                        Check one box only as directed in this form and in
                                                                                                        Form 122A-1Supp:
 Debtor 1         Jason            F.           Stapler
                  __________________________________________________________________
                   First Name             Middle Name           Last Name
                                                                                                        ✔
                                                                                                           1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name             Last Name                             2. The calculation to determine if a presumption of
                                                                                                               abuse applies will be made under Chapter 7
                                         Northern District
 United States Bankruptcy Court for the: ____________        of Alabama__________
                                                      'LVWULFWRIBBBBBBBBBBBBBBB
                                                                                                               Means Test Calculation (Official Form 122A–2).
 Case number         21-
                    ___________________________________________                                            3. The Means Test does not apply now because of
 (If known)
                                                                                                               qualified military service but it could apply later.


                                                                                                         Check if this is an amended filing

Official Form 122AɅ1
Chapter 7 Statement of Your Current Monthly Income                                                                                                              1/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
        ✔ Not married. Fill out Column A, lines 2-11.
        
        Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

         Married and your spouse is NOT filing with you. You and your spouse are:
           Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
           Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                          Column A             Column B
                                                                                                          Debtor 1             Debtor 2 or
                                                                                                                               non-filing spouse

   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                         3,464.00
                                                                                                            $_________           $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                                $_________           $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                              $_________           $__________

   5. Net income from operating a business, profession,
                                                                     Debtor 1         Debtor 2
      or farm
      Gross receipts (before all deductions)                           $______        $______
        Ordinary and necessary operating expenses                   – $______ – $______
                                                                                                 Copy
        Net monthly income from a business, profession, or farm        $______        $______ hereÎ         $_________           $__________

   6. Net income from rental and other real property                 Debtor 1         Debtor 2
      Gross receipts (before all deductions)                           $______        $______
        Ordinary and necessary operating expenses                   – $______ – $______
                                                                                                 Copy
        Net monthly income from rental or other real property          $______        $______ hereÎ         $_________           $__________
  7. Interest, dividends, and royalties                                                                     $_________           $__________



          Case
Official Form    21-81282-CRJ7 Chapter
              122A-1             Doc 71Statement
                                           Filed of07/23/21      Entered
                                                    Your Current Monthly    07/23/21
                                                                         Income                                        15:13:39          Desc Main
                                                                                                                                                page 1
                                                           Document              Page 62 of 66
Debtor 1           Jason            F.         Stapler
                   _______________________________________________________                                                                              21-
                                                                                                                             Case number (if known)_____________________________________
                   First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse
   8. Unemployment compensation                                                                                                      $__________                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ Ð
            For you ..................................................................................   $______________
            For your spouse ..................................................................           $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.                                                   $__________                  $___________
   10. Income from all other sources not listed above. Specify the source and amount.
       Do not include any benefits received under the Social Security Act; payments received
       as a victim of a war crime, a crime against humanity, or international or domestic
       terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
       States Government in connection with a disability, combat-related injury or disability, or
       death of a member of the uniformed services. If necessary, list other sources on a
       separate page and put the total below.
           ______________________________________                                                                                    $_________                   $___________
           ______________________________________                                                                                    $_________                   $___________
           Total amounts from separate pages, if any.                                                                            + $_________                  + $___________
   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                                                               3,464.00
                                                                                                                                     $_________
                                                                                                                                                           +      $___________
                                                                                                                                                                                      =      3,464.00
                                                                                                                                                                                          $__________
                                                                                                                                                                                          Total current
                                                                                                                                                                                          monthly income

   Part 2:           Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.       Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 hereÎ          3,464.00
                                                                                                                                                                                      $__________

                  Multiply by 12 (the number of months in a year).                                                                                                                    x 12
       12b.       The result is your annual income for this part of the form.                                                                                                  12b.     49,191.00
                                                                                                                                                                                      $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                                              AL

       Fill in the number of people in your household.                                                   1

       Fill in the median family income for your state and size of household. ................................................................................................. 13.     47,657.00
                                                                                                                                                                                      $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


            ✔ Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
       14a. 
                      Go to Part 3.'R127ILOORXWRUILOH2IILFLDO)RUP$



       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                       Go to Part 3 and fill out Form 122A–2.




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                                                                                          Document               Page 63 of 66
Debtor 1     Jason            F.         Stapler
             _______________________________________________________                                                     21-
                                                                                                  Case number (if known)_____________________________________
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

             By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


             8 /s/ Jason F. Stapler
                   __________________________________________________________                  8 ______________________________________
                   Signature of Debtor 1                                                         Signature of Debtor 2

                       07/22/2021
                  Date _________________                                                         Date _________________
                       MM / DD / YYYY                                                                 MM / DD / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A–2.
                   If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




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Official Form     21-81282-CRJ7 Chapter
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CARMAX CAF                    CABELAS                     COMENITY
225 CHASTAIN                  4800 NW 1ST ST #300         CAPITAL/GAMESTOP
MEADOWS CT                    LINCOLN NE 68521            PO BOX 183003
KENNESAW GA 30144                                         COLUMBUS OH 43218

INTERNAL REVENUE              EXPRESS OIL CHANGE          MERRICK BANK CORP
SERV                          PO BOX 965036               PO BOX 9201
PO BOX 621505                 ORLANDO FL 32896            BETHPAGE NY 11804
ATLANTA GA 30362
                              MID AMERICA BANK &          FIRST PREMIER
C&F FINANCE CO                TRUST                       PO BOX 5524
1927 C&F DR                   960 S BISHOP AVE            SIOUX FALLS SD 57107
HAMPTON VA 23666              ROLLA MO 65401

GOODY’S                       CREDIT ONE BANK             FRANKLIN COLL SERV
1144 N HIGH ST                585 E PILOT RD              2978 W JACKSON
COLUMBUS OH 43218             LAS VEGAS NV 89119          TUPELO MS 38803

COMENITY BANK                 MACYS/CSNB                  FOX COLL CTR
PO BOX 182789                 9111 DUKE BLVD              456 MOSS TRAIL
COLUMBUS OH 43218             MASON OH 45040              GOODLETTSVILLE TN
                                                          37072
CELTIC BANK GROUP             CAPITAL ONE/JUSTICE
268 STATE ST #300             PO BOX 30287                PROFESSIONAL ACCT
SALT LAKE CITY UT             SALT LAKE CITY UT           SERV
84111                         84130                       PO BOX 188
                                                          BRENTWOOD TN 37027
SYNCHRONY BANK                CELTIC BANK
PO BOX 965036                 PO BOX 4477                 HUNTSVILLE
ORLANDO FL 32896              BEAVERTON OR 97076          HOSPITAL
                                                          101 SIVLEY RD
COMENITY BANK/PIER            REDSTONE FED                HUNTSVILLE AL 35801
1                             CREDIT UNION
PO BOX 182789                 220 WYNN DR NW              LVNV FUNDING LLC
COLUMBUS OH 43218             HUNTSVILLE AL3 5893         PO BOX 98872
                                                          LAS VEGAS NV 89119
KOHL’S                        MILITARY CREDIT
3737 S 27TH ST                SERV                        CREDIT & COLL SERV
MILWAUKEE WI 53201            1150 E LITTLE CREED         PO BOX 10
                              RD #205                     JASPER AL 35052
CARE CREDIT                   NORFOLK VA 23518
PO BOX 965036                                             WAKEFIELD & ASSOC
ORLANDO FL 32896                                          10800 E BETHANY DR
                                                          AURORA CO 80014




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SANTANDER
CONSUMER USA
PO BOX 660633
DALLAS TX 75266

CREDIT ONE BANK
PO BOX 98873
CITY OF INDUSTRY CA
91716

COMENITY BANK
PO BOX 182273
COLUMBUS OH 43218

LIBERTY FINANCE
49 N MAIN ST
ARAB AL 35016




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